       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Timothy Warnick, s/k/a
       Timothy William Warnick
       v. Commonwealth of Virginia
       Record No. 0616-19-4
       Opinion rendered by Judge Humphreys on
        July 7, 2020

    2. Wardell Orthopaedics, P.C.
       v. Colonna’s Shipyard Inc. and
           United States Fidelity and Guaranty Co.
       Record No. 1930-19-1
       Opinion rendered by Judge O’Brien on
        July 14, 2020

    3. John Berry
        v. Mary Barnes, Tricia Ann Scanlon and
            Donald Edward Scanlon
        Record No. 0204-20-4
        Opinion rendered by Judge Petty on
        July 14, 2020

    4. Quartrez Logan, s/k/a
        Quartrez Rashad Logan
       v. Commonwealth of Virginia
       Record No. 1735-18-1
       Rehearing En Banc opinion rendered by Judge Humphreys on
        July 21, 2020

    5. Neal Andrew Peters
       v. Commonwealth of Virginia
       Record No. 1001-19-3
       Opinion rendered by Judge Beales on
        August 4, 2020
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Braulio Marcelo Castillo, s/k/a
    Braulio Marcello Castillo
   v. Commonwealth of Virginia
   Record No. 0140-17-4
   Opinion rendered by Judge Malveaux
    on June 4, 2019
   Refused (191028)

2. Antonio Concepcion Garibaldi
   v. Commonwealth of Virginia
   Record No. 0858-18-1
   Opinion rendered by Judge Humphreys
    on November 5, 2019
   Refused (191637)

3. Jacob Scott Goodwin
    v. Commonwealth of Virginia
   Record No. 1463-18-2
    Opinion rendered by Chief Judge Decker
     on November 12, 2019
    Refused (191596)

4. Yorhonda Milldred Pooler, s/k/a
    Yorhonda Mildred Pooler
   v. Commonwealth of Virginia
   Record No. 1786-18-1
   Opinion rendered by Judge Huff
    on November 19, 2019
   Refused (191710)
